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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

SECURITIES AND EXCHANGE COMMISSION,                         §
                                                            §
                              Plaintiff,                    §
                                                            §
v.                                                          §      Case No.: 3:16-CV-1735-D
                                                            §
CHRISTOPHER A. FAULKNER,                                    §
BREITLING ENERGY CORPORATION,                               §
JEREMY S. WAGERS,                                           §
JUDSON F. (“RICK”) HOOVER,                                  §
PARKER R. HALLAM,                                           §
JOSEPH SIMO,                                                §
DUSTIN MICHAEL MILLER RODRIGUEZ,                            §
BETH C. HANDKINS,                                           §
GILBERT STEEDLEY,                                           §
BREITLING OIL & GAS CORPORATION,                            §
CRUDE ENERGY, LLC,                                          §
PATRIOT ENERGY, INC.,                                       §
                                                            §
                              Defendants,                   §
                                                            §
and                                                         §
                                                            §
TAMRA M. FREEDMAN and                                       §
JETMIR AHMEDI,                                              §
                                                            §
                              Relief Defendants.            §
                                                            §

                             JUDGMENT AS TO DEFENDANT
                                 PARKER R. HALLAM

        The Securities and Exchange Commission having filed a First Amended Complaint

(“Complaint”) and Defendant Parker R. Hallam having filed an answer and entered a general

appearance; consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Judgment without admitting or denying the allegations of the

Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph V);
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waived findings of fact and conclusions of law; and waived any right to appeal from this

Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).




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                                                II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                III.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C.


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§ 77e] by, directly or indirectly, in the absence of any applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or

       (c)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).




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                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the Securities Act [15

U.S.C. § 77t(e)], Defendant is prohibited from acting as an officer or director of any issuer that

has a class of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l]

or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                                 V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay disgorgement of ill-gotten gains, prejudgment interest thereon, and a civil penalty

pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court shall determine the amounts of the

disgorgement and civil penalty upon motion of the Commission. Further, the Court shall

determine, upon motion of the Commission, whether Defendant should be permanently

restrained and enjoined from participating, directly or indirectly, including but not limited to

through any other entity owned or controlled by him, in the issuance, purchase, offer, or sale of

any security, provided however, that such permanent injunction shall not prevent Defendant from

purchasing or selling securities for his account (collectively the conduct-based injunction, or

“CBI”). Prejudgment interest shall be calculated from March 31, 2015 based on the rate of

interest used by the Internal Revenue Service for the underpayment of federal income tax as set

forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for disgorgement,


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civil penalties, and/or a CBI, and at any hearing held on such a motion: (a) Defendant will be

precluded from arguing that he did not violate the federal securities laws as alleged in the

Complaint; (b) Defendant may not challenge the validity of the Consent or this Judgment; (c)

solely for the purposes of such motion, the allegations of the Complaint shall be accepted as and

deemed true by the Court; and (d) the Court may determine the issues raised in the motion on the

basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

documentary evidence, without regard to the standards for summary judgment contained in Rule

56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for

disgorgement, civil penalties, and/or a CBI, the parties may take discovery, including discovery

from appropriate non-parties.

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                               VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the Complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the federal securities




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laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                               VIII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                                IX.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.


       Signed April 18, 2017.

                                              ____________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




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